     Case 1:14-bk-10002
 Fill in this information to identify the case:
                                               Doc 66      Filed 01/11/19 Entered 01/11/19 08:18:37                        Desc Main
                                                           Document     Page 1 of 3
B 10 (Supplement 2) (12/11)                            n draft)
 Debtor 1              Mary Beth Ray
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                             Southern                          OH
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                              (State)
 Case number
                        14-10002
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                               10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information


                                    New Penn Financial, LLC d/b/a                                                 Court claim n
 Name of                creditor:
                                    Shellpoint Mortgage Servicing                                                       3
                                                                                               0362                    _________________
 Last 4 digits of any number you use to identify the debtor’s account:


 Property address:                  Number     Street
                                    ________________________________________________

                                    6557 Visitation Dr
                                    _______________________________________________

                                    Cincinnati, OH 45248
                                    ________________________________________________
                                    City                       State     ZIP Code


 Part 2:         Prepetition Default Payments

  Check one:

       Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim.

       Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
       on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date               $ __________
       of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

       Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
       the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
                                                                                 2____/_____/______
                                                                                       1 19
       The next postpetition payment from the debtor(s) is due on:
                                                                                  MM / DD   / YYYY

       Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
       of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
       a. Total postpetition ongoing payments due:                                                                         (a)   $ __________
       b. Total fees, charges, expenses, escrow, and costs outstanding:                                                +   (b)   $ __________

       c. Total. Add lines a and b.                                                                                        (c)   $ __________
       Creditor asserts that the debtor(s) are contractually
       obligated for the postpetition payment(s) that first became                ____/_____/______
       due on:                                                                    MM / DD / YYYY


Form 4100R                                                  Response to Notice of Final Cure Payment                                  page 1
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                Mary Beth Ray                                                                                     14-10002
Debtor 1        _______________________________________________________                       Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.



                   /s/ Carrie Dockter                                                                 1   11 19
                   __________________________________________________                         Date    ____/_____/________
                   Signature


                    Carrie                                             Dockter                        Bankruptcy Case Manager
 Print             _________________________________________________________                  Title   ___________________________________
                   First Name                      Middle Name         Last Name




 Company           _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           _________________________________________________________
                   Number                 Street



                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone     (______) _____– _________                                                  Email ________________________




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